Case 2:13-cv-14695-MFL-LJM ECF No. 474, PageID.15081 Filed 08/23/23 Page 1 of 2




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

 OMAR RASHAD POUNCY,

        Petitioner,                                  Case No. 13-cv-14695
                                                     Hon. Matthew F. Leitman
 v.

 CARMEN D. PALMER,

      Respondent.
 __________________________________________________________________/

        ORDER DENYING PETITIONER’S MOTION FOR IMMEDIATE
      ENTRY OF ORDER DIRECTED TO THE MICHIGAN DEPARTMENT
                   OF CORRECTIONS (ECF No. 469)

        On April 25, 2023, Petitioner Omar Rashad Pouncy filed a motion in which

 he asked the Court to direct the Michigan Department of Corrections (the “MDOC”)

 to take certain actions. (See Mot., ECF No. 469.) For example, Pouncy asked the

 Court to order the MDOC to transfer him to the Macomb Correctional Facility so

 that he could be located closer to his appellate counsel. (See id., PageID.15051.) He

 also asked that the MDOC schedule phone calls and video conferences with his

 appellate counsel. (See id., PageID.15053.) But since Pouncy filed that motion, he

 has moved in the Sixth Circuit to discharge his appellate counsel. See Pouncy v.

 Palmer, Sixth Cir. Case No. 21-1811, at Docket No. 56. Thus, it does not appear

 that Pouncy needs to be moved closer to counsel. Nor does Pouncy need to have the

 MDOC facilitate video conferences with counsel. Simply put, Pouncy has not


                                          1
Case 2:13-cv-14695-MFL-LJM ECF No. 474, PageID.15082 Filed 08/23/23 Page 2 of 2




 persuaded the Court that he is entitled to the relief he seeks in his motion. The

 motion is therefore DENIED.

       IT IS SO ORDERED.

                                      s/Matthew F. Leitman
                                      MATTHEW F. LEITMAN
                                      UNITED STATES DISTRICT JUDGE
 Dated: August 23, 2023

        I hereby certify that a copy of the foregoing document was served upon the
 parties and/or counsel of record on August 23, 2023, by electronic means and/or
 ordinary mail.

                                      s/Holly A. Ryan
                                      Case Manager
                                      (313) 234-5126




                                        2
